Case 1:21-cv-02131-CJN-MAU Document 82-14 Filed 03/22/24 Page 1 of 2




         Exhibit 35
3/22/24, 12:21 PM Case 1:21-cv-02131-CJN-MAU                   Document
                                                                    nimbus82-14
                                                                          screenshotFiled   03/22/24 Page 2 of 2
                                                                                     app print
                                                                                                             screenshot-twitter.com-2024.03.22-12_21_14
                 Post                                                                        https://twitter.com/GenFlynn/status/1769690162504618095
                                                                                                                                              22.03.2024



                G,en,eral Mi'ke Flynn 0                                               Subscribe
                @GenHynn

     Sheriff Dar Leaf is a constitutio11,al sheriff up i11 Michiga11. This letter (and
     attachments) to @Jim_Jordan is a very serio s set of al legations about
     election frau d perpetrated from overseas as wel I as pressure from State
     of Michigan officials..

     This needs far w ider distributio11 in he w orld of citize11 j'oumalism. If w e
     want to win t his. we are going to have to get t he word out about t hese
     cases of electio11 frau d that disenfranchise every single legal Ameri can
     citize11 .

     Pray t he members of Congress do as th e Sheriff is asking a11d s op al I
     engines and investigate this alleged bu very serious crime again st our
     11atio11.

     @Spea kerJohnson
     @GOP
     @elonmusk
     @TuckerCarlsori you should interview this sheriff.

               Sh e1rif f Da11r Leaf @Sheriffleaf • Mar 17
         ' -
        d rive.google.co m/f ile/ d/ 1YTvKSL...


     4:39 AM • Mar 18, 2024 • 887.2K Views


       Q235                     t_1,. 6.8K                0111<                [:) 360




chrome-extension://bpconcjcammlapcogcnnelfmaeghhagj/edit.html?pdf                                                                                     1/1
